                         U.S. District Court
               District of New Hampshire (Concord)
   CRIMINAL DOCKET FOR CASE #: 1:20−mj−00132−AJ All Defendants

Case title: USA v. Maxwell                              Date Filed: 07/02/2020

Assigned to: Magistrate Judge Andrea K.
Johnstone

Defendant (1)
Ghislaine Maxwell

Pending Counts                            Disposition
18 U.S.C. 371 CONSPIRACY TO
ENTICE MINORS TO TRAVEL TO
ENGAGE IN ILLEGAL SEX ACTS
(1)
18 U.S.C. 2422 and 2 ENTICEMENT OF
A MINOR TO TRAVEL TO ENGAGE IN
ILLEGAL SEX ACTS
(2)
18 U.S.C. 371 CONSPIRACY TO
TRANSPORT MINORS WITH INTENT
TO ENGAGE IN CRIMINAL SEXUAL
ACTIVITY
(3)
18 U.S.C. 2423(a) and 2
TRANSPORTATION OF A MINOR
WITH INTENT TO ENGAGE IN
CRIMINAL SEXUAL ACTIVITY
(4)
PERJURY
(5−6)

Highest Offense Level (Opening)
Felony

Terminated Counts                         Disposition
None

Highest Offense Level (Terminated)
None
Complaints                               Disposition
None



Plaintiff
USA                                          represented by John S. Davis
                                                            US Attorney's Office (NH)
                                                            James C Cleveland Federal Bldg
                                                            53 Pleasant St, 4th Flr
                                                            Concord, NH 03301
                                                            603 230−2574
                                                            Email: john.davis8@usdoj.gov
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED
                                                            Designation: Assistant US Attorney

 Date Filed   # Page Docket Text
 07/02/2020           Arrest (Removal) of Ghislaine Maxwell.(kad) (Entered: 07/02/2020)
 07/02/2020   1       COPY of Warrant and Indictment from Southern District of New York (White
                      Plains, NY), Case No. 20 CR 330. (kad) (Entered: 07/02/2020)
 07/02/2020           NOTICE OF HEARING as to Ghislaine Maxwell. Removal Hearing via Video
                      Conference set for 7/2/2020 03:30 PM before Magistrate Judge Andrea K.
                      Johnstone. (kad) (Entered: 07/02/2020)
 07/02/2020   2       Public Access Findings as to Ghislaine Maxwell. So Ordered by Magistrate Judge
                      Andrea K. Johnstone. (bt) (Entered: 07/02/2020)
 07/02/2020           Minute Entry for proceedings held before Magistrate Judge Andrea K. Johnstone:
                      REMOVAL HEARING as to Ghislaine Maxwell held on 7/2/2020. The court
                      found the defendant knowingly and voluntarily waived and in−court hearing.
                      Defendant: advised of rights and charges, waived identity hearing. Detention
                      hearing to be held in prosecuting district. (Court Reporter: Susan Bateman) (Govt
                      Atty: Alison Moe, John Davis) (Defts Atty: Lawrence Vogelman) (USP: Janice
                      Bernard)(Total Hearing Time: 17 min.) (kad) (Entered: 07/06/2020)
 07/02/2020   3       COMMITMENT TO ANOTHER DISTRICT as to Ghislaine Maxwell.
                      Defendant committed to District of Southern District of New York. So
                      Ordered by Magistrate Judge Andrea K. Johnstone. (kad) (Entered:
                      07/06/2020)
                            Case 1:20-mj-00132-AJ Document 1 Filed 07/02/20 Page 1 of 19
0RG$2  $UUHVW:DUUDQW    AUSA Name & Telno: Alison Moe, 212-637-2225


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                                                     Southern District of New York

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                              Y                                                 &5
                                                                               &DVH1R



                        Ghislaine Maxwell
                              Defendant


                                                           ARREST WARRANT
7R      $Q\DXWKRUL]HGODZHQIRUFHPHQWRIILFHU

          YOU ARE COMMANDEDWRDUUHVWDQGEULQJEHIRUHD8QLWHG6WDWHVPDJLVWUDWHMXGJHZLWKRXWXQQHFHVVDU\GHOD\
(name of person to be arrested)        Ghislaine Maxwell                                                                                   
ZKRLVDFFXVHGRIDQRIIHQVHRUYLRODWLRQEDVHGRQWKHIROORZLQJGRFXPHQWILOHGZLWKWKHFRXUW

✔ ,QGLFWPHQW
u                          u 6XSHUVHGLQJ,QGLFWPHQW          u ,QIRUPDWLRQ        u 6XSHUVHGLQJ,QIRUPDWLRQ             u &RPSODLQW
u 3UREDWLRQ9LRODWLRQ3HWLWLRQ                u 6XSHUYLVHG5HOHDVH9LRODWLRQ3HWLWLRQ       u 9LRODWLRQ1RWLFH          u 2UGHURIWKH&RXUW

7KLVRIIHQVHLVEULHIO\GHVFULEHGDVIROORZV
  Title 18, United States Code, Section 371 (conspiracy to entice minors)
  Title 18, United States Code, Sections 2422 and 2 (enticement of a minor)
  Title 18, United States Code, Section 371 (conspiracy to transport minors)
  Title 18, United States Code, Sections 2423(a) and 2 (transportation of a minor)
  Title 18, United States Code, Section 1623 (perjury)




'DWH          06/29/2020
                                                                                             Issuing officer’s signature

&LW\DQGVWDWH         White Plains, NY                                       Hon. Lisa Margaret Smith, U.S. Magistrate Judge
                                                                                               Printed name and title


                                                                    Return

           7KLVZDUUDQWZDVUHFHLYHGRQ(date)                            DQGWKHSHUVRQZDVDUUHVWHGRQ(date)
DW(city and state)                                             

'DWH
                                                                                            Arresting officer’s signature



                                                                                               Printed name and title
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                      UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW HAMPSHIRE


United States of America

     v.                                          Case No. 20-mj-132-AJ-1

Ghislaine Maxwell


                          Public Access Findings

I.   Background

     This hearing is taking place during the public health

emergency caused by the COVID-19 outbreak.           All parties to this

proceeding, including the court, are appearing remotely via

video.    In light of the anticipated volume of public and media

interest and the operational/capacity limitations of

videoconference technology, public and media access to the

proceeding will be via telephonic conference.           The court’s

protocols for this hearing are laid out in Standing Order 20-7

(Mar. 23, 2020). 1     The court finds that conducting this hearing

via video — under the unique circumstances presented by the

COVID-19 pandemic — is the best way to ensure the safety of the

litigants, court personnel, and the public at large.            All

findings made in the court’s prior standing orders are




     1 Standing Order 20-7 was extended to August 1, 2020 by
Standing Order 20-21 (June 17, 2020).
                                      1
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incorporated herein.       See Standing Orders 20-5 (Mar. 20, 2020)

and 20-21 (June 17, 2020). 2

      The hearing held today will be an initial appearance and

removal hearing for defendant Ghislaine Maxwell.            Today’s

hearing has been noticed as a video hearing.           In the event

defendant consents to proceed, the court makes the findings

below.

      Before convening this video/telephone hearing, the court

carefully considered the defendant’s Sixth Amendment right to

public court proceedings and the public’s and press’s First

Amendment rights to in-person access to such proceedings.               See

Bucci v. United States, 662 F.3d 18, 22 (1st Cir. 2011) (citing

Waller v. Georgia, 467 U.S. 39, 48 (1984)); Press-Enter. Co. v.

Superior Court of California, Riverside Cty., 464 U.S. 501, 509-

10 (1984).     This Order details my findings.


II.   Partial Rather Than Total Closure

      The court first finds that this video hearing constitutes a

partial, rather than total, closure of these proceedings.               The

court so finds because the goals of public access will still be

achieved: this proceeding is not being held in secret and the

public, including members of the press, maintains the



      2All the court’s Standing Orders regarding the COVID-19
outbreak can be found here: http://www.nhd.uscourts.gov/court-
response-coronavirus-disease-covid-19.
                                      2
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opportunity to access this proceeding in real time.           See

Richmond Newspapers, Inc. v. Virginia, 448 U.S. 555, 593-97

(1980) (Brennan, J., concurring) (discussing the functions of

public access to court proceedings, including ensuring that

procedural rights are respected and that justice is afforded

equally, maintaining public confidence in the administration of

justice, promoting accurate fact-finding, and enabling the

public to act as a check on judicial power); see also Bucci, 662

F.3d at 22 (discussing benefits of openness in criminal

proceedings).    Under the extraordinary circumstances presented

by the continuing COVID-19 pandemic, the court finds this

partial closure is necessary.


III. Findings in Support of Necessity for this Partial Closure

  A. First, the court finds that protecting the health and
     safety of the public and the parties to this proceeding
     from the spread of COVID-19 is a substantial interest that
     would be jeopardized and prejudiced if the court did not
     impose this partial closure.

     Since the first announced case in New Hampshire on March 2,

2020, the state has reported 5,802 confirmed cases of COVID-19. 3

So far, 373 deaths have been attributed to the disease in this



     3 COVID-19, N.H. Dep’t of Health and Human Servs.,
https://www.nh.gov/covid19/ (last visited 12:00 p.m. July 2,
2020); Explore the Data: Tracking COVID-19 in New Hampshire,
N.H. Pub. Radio, https://www.nhpr.org/post/updated-tracking-
covid-19-cases-and-testing-new-hampshire#stream/0 (last visited
12:00 p.m. July 2, 2020).


                                     3
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state.   Further, in New Hampshire approximately 3,475 people are

being monitored for signs of COVID-19 infection, over 120,307

total tests have been reported (both positive and negative test

results), and community-based transmission has been confirmed. 4

Nationally, the number of confirmed cases has grown to over

2,797,737, with 130,984 cases resulting in death. 5

     Given the contagious nature of the virus and the

exponential growth in cases, COVID-19 presents an enormous

danger to the health and safety of the public, including the

litigants, security, and court personnel involved in this

proceeding.    The court’s interest in preventing the spread of

COVID-19 and preserving the health of all hearing participants,

including the public, is a weighty and substantial interest that

would likely be prejudiced if the court were not to impose this

partial closure.     See United States v. Smith, 426 F.3d 567, 572-

73 (2d Cir. 2005) (finding that U.S. Marshal’s policy after

September 11th of requiring unknown visitors to court to produce

photo identification constituted partial closure of courtroom




     4 COVID-19, N.H. Dep’t of Health and Human Servs.,
https://www.nh.gov/covid19/ (last visited 12:00 p.m. July 2,
2020); Explore the Data: Tracking COVID-19 in New Hampshire,
N.H. Pub. Radio, https://www.nhpr.org/post/updated-tracking-
covid-19-cases-and-testing-new-hampshire#stream/0 (last visited
12:00 p.m. July 2, 2020).

     5 Real Clear Politics, https://www.realclearpolitics.com/
(last visited 12:45 p.m. July 2, 2020).
                                     4
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that was justified by substantial interest of promoting security

and preventing terrorism).


  B. Second, the court finds that this partial closure of court
     proceedings is narrowly tailored to protect public health
     and safety and is less restrictive than the court’s current
     in-court hearing protocols.

      Allowing the public to access these proceedings through

telephone conference allows a large number (up to 500) of

members of the public to access the proceedings while, at the

same time, protecting the health of all involved by limiting the

potential exposure of the public, parties, and court staff to

COVID-19.

     Importantly, the court finds that, in light of the court’s

current restrictions on the number of people permitted in the

courtroom, providing public telephonic access is less

restrictive than holding an in-person hearing which only a

limited number of people can attend.       Further, via telephone,

even individuals who would have otherwise been prohibited from

entering the courthouse — for example, people who have tested

positive for COVID-19 — now have access (even though virtual) to

the proceedings.   See Standing Order 20-9 (Mar. 20, 2020)

(prohibiting certain individuals from entering the courthouse,

including people diagnosed with or exposed to someone diagnosed

with COVID-19).    Providing the public access to this proceeding

via telephone is the least restrictive means of protecting the

                                   5
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substantial interest of public health and safety.          See United

States v. Alimehmeti, 284 F. Supp. 3d 477, 490 (S.D.N.Y. 2018)

(granting partial closure of courtroom to protect identity of

undercover agents: courtroom was closed to public during

undercover agents’ testimony but audio of testimony was live-

streamed into different courtroom during partial closure and

transcripts of testimony were made available to public

promptly).


  C. Third, the court has considered reasonable alternatives to
     this partial closure.

      The court has considered alternatives to this partial

closure and finds they are neither reasonable nor feasible under

the circumstances of the COVID-19 pandemic and this case,

particularly the necessity that this hearing be conducted

promptly.


IV.   Conclusion

      In sum, the court finds that in this case a partial closure

of court proceedings is necessary in that today’s hearing will

be conducted by video and telephone conference.          This partial

closure is justified by the substantial interest of protecting

public health and safety from the spread of COVID-19 and is

narrowly tailored to protect that interest.         The public

maintains the opportunity to access these proceedings in full by

telephone.
                                    6
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      SO ORDERED.

                                  __________________________
                                  ____________________________
                                  Andrea K.
                                         K Johnstone
                                  United States Magistrate Judge

July 2, 2020

cc:   Counsel of record




                                    7
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MIME−Version:1.0
From:ecf_bounce@nhd.uscourts.gov
To:nef@nhd.uscourts.gov
Bcc:
−−Case Participants: John S. Davis (caseview.ecf@usdoj.gov, john.davis8@usdoj.gov,
kristina.mcnamara@usdoj.gov, usanh.ecfcriminal@usdoj.gov, usanh.ecfdocket@usdoj.gov)
−−Non Case Participants: US Marshal (brenda.mikelson2@usdoj.gov,
eugene.robinson2@usdoj.gov, kathleen.renaud@usdoj.gov, kimberly.dow@usdoj.gov,
wanda.dechaine@usdoj.gov), US Probation (nhpdb_cmecf@nhp.uscourts.gov)
−−No Notice Sent:

Message−Id:2213049@nhd.uscourts.gov
Subject:Activity in Case 1:20−mj−00132−AJ USA v. Maxwell Notice of Hearing
Content−Type: text/html

                                           U.S. District Court

                                      District of New Hampshire

Notice of Electronic Filing


The following transaction was entered on 7/2/2020 at 12:09 PM EDT and filed on 7/2/2020

Case Name:       USA v. Maxwell
Case Number:     1:20−mj−00132−AJ
Filer:
Document Number: No document attached
Docket Text:
 NOTICE OF HEARING as to Ghislaine Maxwell. Removal Hearing via Video Conference set
for 7/2/2020 03:30 PM before Magistrate Judge Andrea K. Johnstone. (kad)


1:20−mj−00132−AJ−1 Notice has been electronically mailed to:

John S. Davis &nbsp &nbsp john.davis8@usdoj.gov, CaseView.ECF@usdoj.gov,
kristina.mcnamara@usdoj.gov, USANH.ECFCriminal@usdoj.gov, USANH.ECFDocket@usdoj.gov

1:20−mj−00132−AJ−1 Notice, to the extent appropriate, must be delivered conventionally to:
MIME−Version:1.0
From:ecf_bounce@nhd.uscourts.gov
To:nef@nhd.uscourts.gov
Bcc:
−−Case Participants: John S. Davis (caseview.ecf@usdoj.gov, john.davis8@usdoj.gov,
kristina.mcnamara@usdoj.gov, usanh.ecfcriminal@usdoj.gov, usanh.ecfdocket@usdoj.gov)
−−Non Case Participants:
−−No Notice Sent:

Message−Id:2213529@nhd.uscourts.gov
Subject:Activity in Case 1:20−mj−00132−AJ USA v. Maxwell Removal Hearing
Content−Type: text/html

                                          U.S. District Court

                                      District of New Hampshire

Notice of Electronic Filing


The following transaction was entered on 7/6/2020 at 9:45 AM EDT and filed on 7/2/2020

Case Name:       USA v. Maxwell
Case Number:     1:20−mj−00132−AJ
Filer:
Document Number: No document attached
Docket Text:
 Minute Entry for proceedings held before Magistrate Judge Andrea K. Johnstone:
REMOVAL HEARING as to Ghislaine Maxwell held on 7/2/2020. The court found the
defendant knowingly and voluntarily waived and in−court hearing. Defendant: advised of
rights and charges, waived identity hearing. Detention hearing to be held in prosecuting
district. (Court Reporter: Susan Bateman) (Govt Atty: Alison Moe, John Davis) (Defts Atty:
Lawrence Vogelman) (USP: Janice Bernard)(Total Hearing Time: 17 min.) (kad)


1:20−mj−00132−AJ−1 Notice has been electronically mailed to:

John S. Davis &nbsp &nbsp john.davis8@usdoj.gov, CaseView.ECF@usdoj.gov,
kristina.mcnamara@usdoj.gov, USANH.ECFCriminal@usdoj.gov, USANH.ECFDocket@usdoj.gov

1:20−mj−00132−AJ−1 Notice, to the extent appropriate, must be delivered conventionally to:
MIME−Version:1.0
From:ecf_bounce@nhd.uscourts.gov
To:nef@nhd.uscourts.gov
Bcc:
−−Case Participants:
−−Non Case Participants:
−−No Notice Sent:

Message−Id:2212948@nhd.uscourts.gov
Subject:Activity in Case 20−132 Sealed v. Sealed (Redacted Notice)
Content−Type: text/html

NOTE: This docket entry (or case) is sealed, no email notices have been sent.

                                           U.S. District Court

                                       District of New Hampshire

Notice of Electronic Filing


The following transaction was entered on 7/2/2020 at 9:45 AM EDT and filed on 7/2/2020

Case Name:       USA v. Maxwell
Case Number:     1:20−mj−00132−AJ *SEALED*
Filer:
Document Number: No document attached
Docket Text:
Arrest (Removal) of Ghislaine Maxwell.(kad)


1:20−mj−00132−AJ *SEALED*−1 No electronic public notice will be sent because the case/entry is
sealed.
